                 Case: 18-5258        Document: 51      Filed: 05/21/2019     Page: 1




                             UNITED STATES COURT OF APPEALS
                                  FOR THE SIXTH CIRCUIT
                                 100 EAST FIFTH STREET, ROOM 540
    Deborah S. Hunt             POTTER STEWART U.S. COURTHOUSE                  Tel. (513) 564-7000
        Clerk                       CINCINNATI, OHIO 45202-3988                www.ca6.uscourts.gov




                                                   Filed: May 21, 2019




 Mr. John L. Medearis
 Eastern District of Tennessee at Knoxville
 800 Market Street
 Suite 130 Howard H. Baker, Jr. U.S. Courthouse
 Knoxville, TN 37902-0000

                      Re: Case No. 18-5258/18-5298, Jesse Pierce, et al v. Wyndham Vacation Resorts, Inc., et al
                          Originating Case No. : 3:13-cv-00641

 Dear Clerk,

   Enclosed is a copy of the mandate filed in this case.

                                                   Sincerely yours,

                                                   s/Briston S. Mitchell
                                                   Case Manager
                                                   Direct Dial No. 513-564-7082

 cc: Mr. William Joseph Anthony
     Mr. Craig A. Cowart
     Ms. Autumn L. Gentry
     Mr. Martin D. Holmes
     Mr. Peter F. Klett III
     Mr. Colby Shannon Morgan Jr.
     Mr. David E. Nagle
     Mr. Oscar John Norris III
     Mr. Darrell L. West

 Enclosure




Case 3:13-cv-00641-DCP Document 462 Filed 05/23/19 Page 1 of 2 PageID #: 17958
                   Case: 18-5258       Document: 51        Filed: 05/21/2019     Page: 2



                             UNITED STATES COURT OF APPEALS
                                  FOR THE SIXTH CIRCUIT

                                            ________________

                                               No: 18-5258/18-5298
                                            ________________

                                                                       Filed: May 21, 2019

 JESSE PIERCE; MICHAEL PIERCE, on behalf of themselves and all others similarly situated

                 Plaintiffs - Appellees Cross-Appellants

 v.

 WYNDHAM VACATION OWNERSHIP, INC.; WYNDHAM VACATION RESORTS, INC.

                 Defendants - Appellants Cross-Appellees



                                              MANDATE

      Pursuant to the court's disposition that was filed 04/29/2019 the mandate for this case hereby

 issues today.



 COSTS: None




Case 3:13-cv-00641-DCP Document 462 Filed 05/23/19 Page 2 of 2 PageID #: 17959
